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FD-202.(Rev. 5-8-10) "ter 2

FEDERAL BUREAU OF INVESTIGATION

Date of eatry 04/3 9/2024.

Richard Edmunds (Bchunds}, born L358, heme address

cellular phone was interviewed over the
phone by Speciai Agent (SA) Donald Peterson and Task Force Officer (TFO}
Shawna Gilbert, on October 30, 2020, The interview. was audio recorded.
This. report serves only as a summary of what was stated during the interview
and is net. intended to be a verbatim account of what was discussed. Edmunds
reported the following information:

Edmunds. worked for the Dentistry as the Chief Operating Officer (C00).
Edmunds: was act an owner in the company, but the individual in the position
befere Edmunds was an owner so the title remained with the positien, There
had been four owners, Doctor John Tiane (Dr. Tiano}), Doctor Lawrence. Rudolph
(Lawrence), Doctor Timothy Runee {Dr. Runeo}), and Prank Dangelil (hangell).
Langell was the COO and was. an. officer of the company. Edmunds was hired
for the job after Langell was terminated,

Edmunds began. working for the Dentistry ian 2007. His responsibility was for
the daily operations of the three offices, which at the time were in Irwin,
West Mifflin, and Green Tree. There were two franchises, which Edmunds
could net. recall the location of and was net. involved. in. Edmunds daily
responsibilities included staffing, customer service, closing procedures,
the stocking of the offices, and employee meetings. Edmunds characterized
the role as that of @ manager above the office managers. He Was originally
hited as an office manager of the Irwin office, and he was promoted after
approximately one year. Prier to working at the Dentistry, Lawrence. was
Remunds’ elient at gym. Edmunds was the director of training at an athletic
club. Lawrence Enew Edmunds background and approached Edmunds about the job
ak the Dentistry. Edmunds met with Dr. Tiane and ulbimately, he received an
offer. Edmunds was employed at the dentistry for approximately two years.
Rdmunds had no prior dentistry experience. other than his time with the
density to rely on for bis opinions. Edmunds stated the offices were

 

Investigation on, LO/30/2020 a Denver, Colorado, United States (Phone)

LL Datedrafted. OL/ 12/2021

by GILBERT SHAWNA JO, Donald Peterson

 

 

 

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Continuation of FD-302 af {Uh} Edmunds Interv jew. Lon LO f30/ 2 020 . Page 2 af &

 

meeting theix goals.

Dr. Thano and Lawrence had been in. business together for a long time. The
Green Tree office was originally bawrernce’s sole prectice. The West Mifflin
office belenged to Dr. Tiano. When they decided to make a company, they
purchased a building in Irwin, and created another office. The partner of
ownership of the buliding was RJ Williams. The business was doing well.

When asked about Lawrence, Edmunds voiced discomfort with being interviewed
by phone. He called through the FBI Gffice, and then agreed to continue to
speak with the interviewers. From that point Edmunds went on to. describe
thet as a dentist Lawrence was a “machine.” No other dentist could do the
amount. of work Lawrence. could do. The motivation for this was greed. The
dentists were paid on preoduchion. They got a portion and the company got a
portion. Lawrerce was brutal on the employees. He was a “terror.” Green
Tree was the home base for Lawrence. They were used to Lawrence’ s
behaviors. The Irwin office had some employees With allegiances to various
decters and was full ef angry people. Dr. Tiano was very laid back and
calm. beawrence had an aggressive personality and was not. pepular with
staff. Dr. Runco was popillar with everyone. Edmunds never saw Lawrence be
verbally abusive with start.

Lawrence was injured on 4 safari and was unable to do dentistry. Part of
the ownership. agreement included a clause regarding being unable to work,

Tf this was the case the individual had te sell back their share to the
other owners. Dr. Tiano and the other owners invoked that clause. Lawrence
was then made a manager. One night at Green Tree, Lawrence called a meeting
of the staff. During the meeting he was screaming, Swinging [rom a Light,
and calling employees names. Edmunds did not witness this incident. After
the incident Lawrence was told he could not work for the cempany and he was
not. allowed at the office. Security was brought into the office. Edmonds
does not know how the situation was resolved.

Wher speaking of the accident that. caused Lawrence to be unable to be a
dentist, Edmunds reported Lawrence claims he was attacked by an alligator in
Africa, Bianca Rudolph (Bianca) teld them of what occurred whtle Lawrence
was still in Africa. They were sent a fax they were to read to patients as
to why he was. no longer treating patients. Edmunds spoke with Lawrence
about what ocourred. Lawrence told Edmunds he was unable. to sleep one

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Continustion'orFp-3o20r {U) Edmunds Interview ,On 10/30/2020 page 38 of o.

 

night, and he was trolling and fishing in a stream. lawrence caught a small
fish. While reeling the fish in Edmunds reached down to pick up the fish
and. the alligator camé up anc got him. Edmunds did not believe Lawrence.
Edmunds has been hiring and interviewing people his entire life. Edmunds
stated you Gain a skill. set and know when someone is lying to you. Edmunds
stated an alligator is a predator and Fs not going to take the tip of your
finger. The story didn’t make sense to Edmunds. Edmunds stated the
motivation to make a story like this up, if Lawrence did, was. that that
Lawrence was insured. Prior to the incident. with the thumb, Edmunds did not
have any indication Lawrence was leaking ke move on to. semething else.
Edmunds never talked to Lawrence or Blanca about this other than the one

conversation with Lawrence.

The. story the staff members were told to tell patients was: something about
Lawrence had a minor injury and would be back to work, and that they were
all praying for him. The statement didn’t detail the alligater attack.
Edmunds believes Lawrence was insured through Lioyds of London. Edmunds
never saw Lawrence practice dentistry after the injury.

When discussing business practices at The Dentistry, Edmunds reported two
business practices that. caused him concern. One involved Maryanne
Versmessen. (Versmessen). Versmessen was a dental assistant and Lawrence’s
twenty some year mistress. Prior to working at the Dentistry, Edmunds was
at the athletic club. Bianca and Lawrence were his clients. Lawrence
purchased sessions for Versmessen with Edmunds as well.

One-night Versmessen came in Edmunds could smell the alcohol on her.
Versmessen started rambling. Edmurids sat her down and asked what she was
talking about. Versmessen spoke about Lawrence. and she told Edmunds: she had
been sleeping with him. Vermeasen was a “jiited woman” because Lawrence had
“eieked her to the curb” for a newer asdsistant at Green Tree. Lawrence was
also alleged to have a few other girlfriends too. Edmunds. asked Versmessen
why She was telling him, and she teld Edmunds Lawrence does things.
unethically, She spoke of Lawrence doing unnecessary work. Edmunds asked
what she was trying to tell him and she went. on to report Lawrence was doing
a lot of procedures such as reok canals. These procedures are where you
make a lot of money. Lawrence would manipulate the x-ray te show it is 4
cavity and the tooth needed a crown. Edmunds told Versmessen she. is. nob a
dentist.

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Continuation of FD-302 of (U2 Ecmunds Interview ,On 10/30/2020 pape 4 of F.

 

Versmessn told him Lawrence, would put. something on the tocth. Lawrence
would numb the gum. He would put a slight pit in the tooth and put an
amalgam in. the hole he made. Then Ne would take an x-ray. Most insurance
agencies required a before x-ray as proof the procedure needed completed.
Vermessen also told Edmunds if they wanted to do an “endo” on you and there
was. no reason for it, but there was an x-ray on a different cage, they would
send the other x-ray in,

Edmunds. had known lawrence for a few years and confronted bim about it.

Lawrence went through an explanation and Edmunds believed him. Lawrence
admitted to having an affair with Versmessen. and he had another woman. He
explained if the cavity is so big, they could fill it, but within three
months. the person would be in pain and to another dentist. and badmouth
them.

After Edmunds spoke with Lawrence, Versmessen showed up angry that he had
contronted Lawrence. Edmunds told Vaermessen she had na proof of this and if
she was. lying, she could be sued. Edmunds could see Vermsmessen was. having
second thougnts. Vermessen. toid Edmunds she did a “Lewinsky” anyway.
Edmunds asked what she was telling him and Vermessen said she had to prove
to Bianca that she was having an affair with Lawrence. Versmessen said she
invited Lawrence over to her apartment on his birthday and had oral sex with
him. She saved the semen in a beg. Edmunds doesn’t Know why she was saving
it. Bianca knew Lawrence was having atfairs. as she hac mentioned it to
Edmunds.

Edmunds. first started training Lawrence in approximately #2005 to #006.
Bianca started training with him approkimately a year later. During the
time he was only training with Lawrence, people at the club saw Lawrence out
at local bars. and there were rumors about this. One day Blanca came im and
Edmurids could se¢e. she was upset. Edmunds went over to sSe if she was ready
to get. started and she didn’t say anything. She looked at Edmunds and made
a comment about men going out with all these women. Edmunds looked at her
and said, “What?” During the conversation Edmunds asked Blanca why she
doesn’t just get civerced. Bianca looked up and said. none of her friends
who had done that recommended it.

Blanca never gave him any indication there were. issues other than the

affairs. When it came to Bianca there was very Little discussion. Edmunds

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Continuation of FIK302 of {7} Edrrunds. Interview On LO f30/ 2020 , Page 5 of &

 

didn’t like her. He took her as a client because of Lawrence. Edmunds
ended up firing her as a client. This was due to Blanca resisting
everything. Blanca told him she didn’t want te sweat, and she showed him a
liet of things she didn’t want to do, but she wanted the look. E¢munds told
Blanca the only way she could do it is: her diet and some reasonable

exercise.

Edmunds did not speak with Blanca about hunting, but he knew she. was.
involved with the club and with hunting.

Eamunds had information Blanca was involved in an extramarital

relationship. Edmunds explained Kim Racon (Racon), was a group fitness
instructbor who Lawrence did not lake. One day Lawrence asked 2f Edmunds
knew anything about tapping phones, and he wert on to say he thought Bianca
was cheating on him. Lawrence. had fourc: out the man was a “B bounge*® singer

from Las Vegas and was Racon’s brother. Racon was covering for the affair.

At the Green Tree Office Lawrence was always ranting about customer
service. Edmunds spoke. with Lawrence. about putting a “daisy system” in.
This is a system where people call in, they are told the call is being
monitored for quality assurance. Edmunds thinks this is where Lawrence got
the idea about tapping phones because after this conversation. Lawrence
brought it up. Edmunds had na independent Knowledge to. confirm if Blanca
was having an. affair. Edmunds had the impression that Lawrence believed

Bianca was having an affair, and Lawrence had animosity toward Racon.

When speaking of Versmeasen, Edmunds stated she had always been a member. of
the gym. Lawrence was client for a couple of years. Versmessen had paid
for some sessions with Edmunds, and Lawrence. had paid for seme of her
sessions. Lawrence explained to Edmunds that Versmessen was .Jike his right
hand, She was doing work for him. Prior to the conversation where Vermessen
was intoxicated, Edmurids. had no knowledge she was engaged in an affair with
lawrence, He knew bawrence spoke of her, but Edmunds first confirmation was
the conversation with Versmessen. After the conversation Edmunds couldn’ t
recall if Lawrence fired her or she was restricted, but eventually she was
gone.

When speaking about divorce, Edmunds stated this was not something Blancs
seemed interested in. She made a comment about it not working out well for

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Continuation of FO-so2er (U) Ecimunds Interview ,On 10/30/2020 pape 6 of F.

 

her friends. Edmunds also spoke with Lawrence about diverce and Lawrence
told Edmunds e was too old te be poor. Edmunds knew Lawrence was worth
militens and even if Lawrence lost Nalf, he would be a4 wealthy Tan.  Edriunds
guessed Lawrence and Bianca were held together by greed. Edmunds never
observed any violence in the relationship.

When asked if he knew ox worked with Lori Miliiron (Milliron), Edmunds
identified her as a dental assistant. langell or Levi. Weaver (Weaver) told
Edmunds. that Mrlliron was one of Lawrence’s girifriends. Edmunds never saw
anything personally that would give him that. indication. Edmunds never
spoke with either Lawrence or Milliren abouk the other. Edmunds never saw.
anything else that lead Aim to believe Lawrence was: engaged in a
relationship with anyone else in the office.

Rdmunds spoke about Dr. Tiano being infatuated with his hyqienist named
Laurie Shrumm (¢Shrumm).. He would give her money and shew woucd show the
other women. Edmunds looked at the Irwin office accounts receivable and saw
money sitting in the 90-day column. Edmunds explained the money should have
been there. Edmunds asked the office coordinater why they hadn’t billed
for this and the office coordinator couldn't explain it. Edmunds went down
to West Matlin and. pulied we the system and the office was reasonably
balanced. There was. nothing in the 60 or 90 day. This was Dr. Tiane’s home
office, and Dr. Runco worked there. Lawrence and Langell never worked
there. Edmunds then went to the Green Tree office. Edmunds checked the
books and he was shocked. There was a hude mumber sitting in. the 90-day
column. Edmunds said something to Langeli who said it was all write. offs.
Edmunds was learning the business. The office's stery was they couldn’t
keep ip with correct insurance.

Eamunds was there one night and was going through and started leafing back
through the accounts. They were not balancing even on the screen. The
money would balance, but maybe. there was an error when entering the write
eff. Edmunds found a category that showed him a bunch of deletions that
were all cash. Edmunds looked at this and started going back further and
further. He noticed that every cash payment. that was made was: deleted. The
next day Edmunds went to the Irwin office and did the same thing and he
found the same thing, but it was not nearly as much money. Then he went te
West Miffiin and there were none. Edmunds line of thinking was that this
WAS fot a cormen practice and that something was wrong. Edmunds thought the

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Continuation of Fp-302 of (U2) Ecmunds Interview ,On 10/30/2020 pape 7 oto.

 

only honest person to speak with is Br, Tiane because his office was. clean.

Edmunds approached Dr. Tiano and told him what he found, Every deletion

be

Edmurids. found was logged in as Langell, however, this doesn’t mean someone
else wasn’t using Langells account. Dr. Tiane asked Edmunds to help him.
Edmunds got Margarete Tilmage (Tilmage) from the Irwin. office to go to Green
Tree with him. They started going through the records. There was close to
a half a million dollars deleted. Edtmpunds caught it because when they
entered the cheeks into the system, they put the wrong write offs in.
Edmunds shewed Dr.. Tiano what he found. They cleared the Irwin accounts and
established that atiything under 25.00 wasn’t biiled it was collected at. the
time of Service,

When it came te Green Tree, Dr. Taano asked Edmunds. te go with him. Pr.
Tianro and Langell went into the managers office. Edmunds was not in the
office with them. When Langell came out he was gone. Edmunds. doesn’t know
if there was more legal actien after that. Edmunds assumed angel] was
fired. Edmunds understanding of what waa happening with the money was that.
the money was. being stolen from the practice. They were all cash payments.
They were putting a write off in instead of a cash balance because they:
didn’t have the cash. Weaver was arrested. Edmunds thinks Weaver was doing
the same thing im the Green Treé office. Edmunds also believes that bangel 1
was doing this with Lawrence. bangell had mumbled something te Edmunds one
day about having te get. Lawrence money. bangell was terrified of

something.  Edrrunds struggled to recall, but he spoke of @& meeting at some
point where he learned Langell and Lawrence were splitting it.

Edmunds only saw Lawrence one time after Lawrence left The Dentistry. This
was ¢leared with Dr. Tiano. Lawrence wanted some type of record from the
Inwin office. Or. Tiana approved this. Edmunds handed him the document
in the parking Lot. Edmunds hasn't spoken with hawrence since.

When asked about Bianca’s involvement. with the dentistry, Edminds was
uncertain of her involvement. He thought her name may have been on
something. Edmunds had a difficult time recailing how he learned of
Bianca’s death. He mentioned it may have been in the paper. He thought. he
contacted Dr. Runco who confirmed it was true. Dr. Runce told Edmunds that
Lawrence had Blanca cremated over in Africa. The conversation between
Edmunds and Dr. Runco was over text. They questioned if Lawrence did at.

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Continnation of FD:302,0f (U) Edmunds Interview ,On 10/30/2020 pape 8 of 2

 

Edmunds questioned the stery and he stated Bianca knew her way around
weapons from his understanding. Edmunds stated his: story wag like the
alligator story. Edmunds stated most people are shot while thinking their
gun is unloaded and he also stated Lawrence is a coward who makes. a lot of
noise but that is about it. Edmunds doesn’t think this is something
Lawrence would be capable of doing. Edmunds only knew bawrence as a client
at the athlebic club and then for a short time at the Dentistry. He did nob
socialize with Lawrence.

Bdmunds stated at one point someone shot. at Dr. Tiane. Br. Tiano was coming
aun of the Irwin office and someone shet at him and tissed. This
information was in the local paper and the police were called. Dr. Thane
had &@ bodyguard for a while. Edmunds has not spoken with Dr. Tiane about
this.

When speaking of his observations of Lawrence and Bianca together, Edmunds
recalled only seeing them together one time. The owner of the athletic club
was. considering sale of the club. Lawrence was interested in purchasing the
club. Lawrence spoke with Edmunds about it, and Edmunds want to a meeting
with Lawrence, Biatica, and the owrer of the club. Edmunds stated during the
meeting the Rudelwhs. were Ehe most compatible levying couple. hLawrence was
submissive to Blarica, holding her hand. Edmunds almost started laughing
because he knew they hated each other. This was the only time he saw them
that he could recall. They had the projection of a perfectly wonderful.
marxied people. They didn’t come out of the meeting with anything.

During the interview Edmunds recalled that Lawrence ordered morphine before
the trip to Africa. Either Dr. Tiano or Weaver told Edmunds about this.
Edmunds: questioned it because they didn’t use morphine. Edmunds also
reported that he had concerns for the dental offices control of prescription
pads, and he spoke with the dentists about this. He voiced concerns, about
the pads being accessible to anyone and he told them this could be done
electronically where it. was easdly tracked. The dentists were resistant to
this. Edmunds called the Local Giant Eagle and asked for an audit of
preseriptions from their office, however, he never received the report. He
calied them back and learned it had been shipped to the Irwin office.

The notes taken during the interview are attached to this report in a LA.

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Continuation of F302 0f (WU) Edmunds Interview .On LOS30/2020 page 2 GED.

 

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